          Case 1:21-cr-00145-BLW Document 22 Filed 07/01/21 Page 1 of 3




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Attorneys for Defendant
ERIK KONRAD EHRLIN


                    IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF IDAHO
                        (HONORABLE B. LYNN WINMILL)


UNITED STATES OF AMERICA, )                        CR21-145-BLW
                          )
         Plaintiff,       )                        Unopposed motion to continue Mr.
                          )                        Ehrlin’s trial
     vs.                  )
                          )
ERIK KONRAD EHRLIN,       )
                          )
         Defendant.       )
                          )


       Erik Ehrlin respectfully asks the Court to continue his trial and pretrial

conference by 90 days.

       On May 5, 2021, Mr. Ehrlin was charged by criminal complaint with one

count of felon-in-possession of a firearm (ECF No. 1). On May 12, 2021, the

grand jury returned an indictment accusing him of this same crime (ECF No.



 Unopposed motion to continue Mr. Ehrlin’s   -1-
 trial
          Case 1:21-cr-00145-BLW Document 22 Filed 07/01/21 Page 2 of 3




3). Mr. Ehrlin was arraigned on May 24, 2021, and was eventually ordered

detained on May 26, 2021 (ECF Nos. 9 & 18). On June 15, 2021, a superseding

indictment was filed, adding charges of assault on a federal officer in violation

of 18 U.S.C. § 111(a) and (b) and depredation of government property in

violation of 18 U.S.C. § 1361 (ECF No. 19). Mr. Ehrlin was arraigned on the

superseding indictment on June 24, 2021.

       Meanwhile, counsel has received two batches of discovery: one disclosed

on June 8, 2021, the other disclosed on June 22, 2021. The discovery disclosed

so far in this case consists of 1,379 pdf pages and several hours of A/V evidence.

       Against this backdrop, counsel requests a 90-day continuance. Counsel

needs 90 days to digest this discovery, conduct independent investigation, and

evaluate pretrial motions and potential defenses.

       Because of this need, a valid basis for trial continuance exists. See 18

U.S.C. § 3161(h)(7). Importantly, denying a continuance would not only result

in a miscarriage of justice, but also deny defense counsel the reasonable time

necessary for effective preparation, taking into account the exercise of due

diligence. See 18 U.S.C. § 3161(h)(7)(B)(i), (iv).

       For these reasons, Mr. Ehrlin respectfully asks the Court to continue his

pretrial conference and trial by 90 days. This request is unopposed.




 Unopposed motion to continue Mr. Ehrlin’s   -2-
 trial
          Case 1:21-cr-00145-BLW Document 22 Filed 07/01/21 Page 3 of 3




Dated: July 1, 2021                          CHARLES PETERSON
                                             FEDERAL PUBLIC DEFENDER
                                             By:



                                             /s/ Miles Pope
                                             Miles Pope
                                             Federal Defender Services of Idaho
                                             Attorneys for Defendant
                                             ERIK KONRAD EHRLIN

                                CERTIFICATE OF SERVICE

       I CERTIFY that I am an employee of the Federal Defender Services of

Idaho, and that a copy of the foregoing document was served on all parties

named below on this 1st day of July, 2021.


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Dated: July 1, 2021                          /s/ Joy Fish
                                             Joy Fish




 Unopposed motion to continue Mr. Ehrlin’s    -3-
 trial
